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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )                  8:01CR273
                vs.                               )
                                                  )                  ORDER
RAFAEL CHICA,                                     )
                                                  )
                         Defendant.               )

        Defendant Rafael Chica appeared before the court on Monday, August 7, 2006 on a Petition for
Warrant or Summons for Offender Under Supervision [231]. The defendant was represented by
Assistant Federal Public Defender Shannon P. O’Connor and the United States was represented by
Assistant U.S. Attorney Kimberly C. Bunjer. Through his counsel, the defendant waived his right to a
probable cause hearing on the Report pursuant to Fed. R. Crim. P. 32.1(a)(1). . The government moved
for detention. Through counsel, the defendant declined to present any evidence on the issue of detention
and otherwise waived a detention hearing. Through counsel, the defendant argued for release. Since it
is the defendant’s burden under 18 U.S.C. § 3143 to establish by clear and convincing evidence that he
is neither a flight risk nor a danger to the community, the court finds the defendant has failed to carry his
burden and that he should be detained pending a dispositional hearing before Chief Judge Bataillon.
        I find that the Report alleges probable cause and that the defendant should be held to answer for
a final dispositional hearing before Chief Judge Bataillon.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Judge Joseph F. Bataillon in Courtroom
No.3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on
September 1, 2006 at 10:30 a.m. Defendant must be present in person.
        2       The defendant, Rafael Chica, is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
        3.      The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 8th day of August, 2006.

                                                          BY THE COURT:

                                                          s/ F. A. Gossett
                                                          United States Magistrate Judge
